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 Attorney for Defendant
 JARRIN YOUNG


          IN THE DISTRICT COURT FOR THE DISTRICT OF HAWAII




    UNITED STATES OF AMERICA,          )   CR. NO. 19-00099 DKW-KJM
                                       )
                     Plaintiff,        )
          VS.                          )
                                       )
    JARRIN YOUNG, (11)                 )   DEFENDANT JARRIN YOUNG’S
                                       )   MEMORANDUM IN SUPPORT OF MOTION
                     Defendant.        )   FOR UN-REDACTED DISCOVERY and
                                       )   CERTIFICATE OF SERVICE
                                       )
                                       )
                                       )
                                       )

            DEFENDANT JARRIN YOUNG’S MEMORANDUM IN SUPPORT
                  OF MOTION FOR UN-REDACTED DISCOVERY


      The government filed its Response to Defendant Young’s
 Motion for Unredacted Discovery on October 28, 2021, asserting
 its Jencks position and practice of “disclosure of any witness
 statements until after the witness has testified on direct
 examination.” See U.S. vs. Jarrin Young, Cr. No 19-00099-11,
 Government’s Response to Defendant Young’s Motion for Unredacted
 Discovery, filed 10/28/21 at 3.
      Most of the redacted reports fall outside the scope of Rule
 26.2, Fed. R. Crim. Proc. Under rule 26.2, a witness’s
 “Statement” is protected from pre-testifying disclosure is
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 defined as follows:
      (1) a written statement that the witness makes and signs, or
 otherwise adopts or approves;
      (2) a substantially verbatim, contemporaneously recorded
 recital of the witness’s oral statement that is contained in any
 recording or any transcription of a recording; or
      (3) the witness’s statement to a grand jury, however taken
 or recorded, or a transcription of such a statement.
      Most of the redacted reports are generated by the FBI after
 a interview. None of the reports are signed by any witness, none
 are the result of a recording, unless the interview was recorded
 but the reports do not reflect, question-answer transcriptions.
      In fact, the Jencks Court noted that “[t]he occasion for
 determining a conflict cannot arise until after the witness has
 testified, . . . unless he admits conflict,. . . the accused is
 helpless to know or discover conflict without inspecting the
 reports.” Jencks v. United States, 353 U.S. 657, 667-668, 77
 S.Ct. 1007, 1 L.Ed.2d 1103 (1957).
      DATED:    Honolulu, Hawaii, November 1, 2021.



                                          BY:     /s/Dana S. Ishibashi
                                                DANA S. ISHIBASHI

                                          ATTORNEY FOR DEFENDANT
                                          Jarrin Young




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          IN THE DISTRICT COURT FOR THE DISTRICT OF HAWAII




    UNITED STATES OF AMERICA,          )    CR. NO. 19-00099 DKW-KJM
                                       )
                     Plaintiff,        )
          VS.                          )
                                       )
    JARRIN YOUNG, (11)                 )     CERTIFICATE OF SERVICE
                                       )
                     Defendant.        )
                                       )
                                       )
                                       )
                                       )
                                       )


                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the
 attached was duly served upon the following parties as set forth
 below:

      Served Electronically through CM/ECF

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      Assistant U.S. Attorneys
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      DATED: Honolulu, Hawai’i, November 1, 2021.


                                               /s/Dana S. Ishibashi
                                           By: Dana S. Ishibashi
                                           Attorney for Defendant (11)
                                           Jarrin Young




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